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   14                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
   15                                WESTERN DIVISION
                                                  Case No. 2:21-cv-04405-RGK-MAR
   16   PAUL SNITKO, JENNIFER
        SNITKO, JOSEPH RUIZ, TYLER                DECLARATION OF ROBERT E.
   17   GOTHIER, JENI VERDON-                     JOHNSON IN SUPPORT OF
        PEARSONS, MICHAEL STORC,                  PLAINTIFFS’ MOTION FOR
   18   and TRAVIS MAY,                           CLASS CERTIFICATION AND
                                                  MEMORANDUM IN SUPPORT
   19                                 Plaintiffs, (Filed Concurrently with Plaintiffs’
                     v.                           Notice of Motion for Class Certification;
   20
                                                  Memorandum in Support; Declarations
   21   UNITED STATES OF AMERICA,                 in Support of Plaintiffs’ Motion for
        TRACY L. WILKISON, in her                 Class Certification; and Proposed
   22   official capacity as Acting United        Order Granting Plaintiffs’ Motion)
        States Attorney for the Central
   23   District of California, and KRISTI
        KOONS JOHNSON, in her official
   24   capacity as an Assistant Director of
        the Federal Bureau of Investigation,      Date: September 27, 2021
   25
                                    Defendants. Time:    9:00 A.M.
                                                  Courtroom: 850
   26
                                                  Judge: Hon. R. Gary Klausner
   27                                             Trial Date: TBD
                                                  Complaint Filed: May 27, 2021
   28                                             Amended Complaint Filed: June 9, 2021

                                    DECLARATION OF ROBERT E. JOHNSON
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    1         I, Robert E. Johnson, submit the following declaration in support of
    2   Plaintiffs’ Motion for Class Certification.
    3         1.     I am an active member of the State Bars of Ohio and Washington,
    4   D.C. and a senior attorney at the Institute for Justice. I am admitted pro hac vice in
    5   this proceeding, and I submit this declaration in support of Plaintiffs’ Motion for
    6   Class Certification.
    7         1.     Attached as Exhibit A is a copy of a redacted excerpt of the
    8   government’s application for a warrant to seize U.S. Private Vaults’ property. This
    9   copy of the redacted excerpt of the warrant application was obtained via PACER
   10   from the docket in the related case of Does 1-6 v. United States, No. 21-cv-3254,
   11   Dkt. 20 (C.D. Cal.).
   12         2.     Attached as Exhibit B is a copy of the seizure warrant authorizing the
   13   seizure of U.S. Private Vaults’ property. This copy of the warrant was obtained via
   14   PACER from the docket in the related case of Does 1-6 v. United States, No. 21-cv-
   15   3254, Dkt. 20 (C.D. Cal.).
   16         3.     Attached as Exhibit C is a copy of the [Redacted] Declaration of
   17   Benjamin N. Gluck in Support of First Amended Complaint in the related case of In
   18   re Search and Seizure of Box No. 8309 at U.S. Private Vaults, No. 21-cv-3554, Dkt.
   19   16 (C.D. Cal.). The copy of this declaration was obtained via PACER.
   20         4.     Attached as Exhibit D is a copy of the Declaration of Nicole R. Van
   21   Dyk in Support of First Amended Complaint in the related case of In re Search
   22   and Seizure of Box No. 8309 at U.S. Private Vaults, No. 21-cv-3554, Dkt. 13-2
   23   (C.D. Cal.). The copy of this declaration was obtained via PACER.
   24         5.     Attached as Exhibit E is a true and correct copy of Exhibit B to the
   25   Declaration of Nicole R. Van Dyk in Support of First Amended Complaint in the
   26   related case of In re Search and Seizure of Box No. 8309 at U.S. Private Vaults, No.
   27   21-cv-3554, Dkt. 13-4 (C.D. Cal.). The copy of this exhibit was obtained via
   28   PACER.
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                                  DECLARATION OF ROBERT E. JOHNSON
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    1         6.     Attached as Exhibit F is a true and correct copy of the forfeiture notice
    2   that was posted to the website www.usprivatevaults.com. I downloaded this copy of
    3   the notice from the U.S. Private Vaults website on June 14, 2021.
    4         7.     Attached as Exhibit G is a true and correct copy of the forfeiture notice
    5   that was sent by the government to Jeni Verdon-Pearsons. This notice letter was
    6   provided to me by Ms. Verdon-Pearsons.
    7         8.     Attached as Exhibit H is a true and correct copy of the forfeiture notice
    8   that was sent by the government to Michael Storc. This notice letter was provided
    9   to me by Mr. Storc’s wife, Ms. Verdon-Pearsons.
   10         9.     Attached as Exhibit I is a true and correct copy of the forfeiture notice
   11   that was sent by the government to Travis May. This notice letter was provided to
   12   me by Mr. May.
   13         10.    Attached as Exhibit J is a true and correct copy of the FBI’s July 20,
   14   2021 letter regarding the return of property seized from Travis May. I received a
   15   copy of this letter from the FBI via email on July 21, 2021.
   16         11.    Attached as Exhibit K is a true and correct copy of Defendants’
   17   Response to Plaintiffs’ First Request for Admissions Related to Class Certification.
   18   Defendants agreed to accept discovery pertaining to class certification prior to the
   19   Rule 26(f) conference on July 20, 2021, and Plaintiffs served Defendants with these
   20   Requests for Admission on July 21, 2021. Defendants served their responses on
   21   August 20, 2021.
   22         12.    Attached as Exhibit L is a true and correct copy of Defendants’
   23   Response to Plaintiffs’ First Request for Interrogatories Related to Class
   24   Certification. Defendants agreed to accept discovery pertaining to class certification
   25   prior to the Rule 26(f) conference on July 20, 2021, and Plaintiffs served
   26   Defendants with these Interrogatories on July 21, 2021. Defendants served their
   27   responses on August 20, 2021.
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                                 DECLARATION OF ROBERT E. JOHNSON
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    1         13.    Attached as Exhibit M is a true and correct copy of Defendants’
    2   Response to Plaintiffs’ First Request for Document Production Related to Class
    3   Certification. Defendants agreed to accept discovery pertaining to class certification
    4   prior to the Rule 26(f) conference on July 20, 2021, and Plaintiffs served
    5   Defendants with these Requests for Production on July 21, 2021. Defendants served
    6   their responses on August 20, 2021.
    7         I declare under penalty of perjury under the laws of the United States that the
    8   foregoing is true and correct.
    9

   10         Executed this 26th day of August, 2021.
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   13         Robert E. Johnson
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                                  DECLARATION OF ROBERT E. JOHNSON
